                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


 GOBIND SINGH, M.D., PH.D.,                              )
                                                         )
                 Plaintiff,                              )
                                                         )
 v.                                                      )   Civil Action No. 3:17-cv-00400
                                                         )   Judge Eli J. Richardson
 VANDERBILT UNIVERSITY MEDICAL                           )   Magistrate Barbara D. Holmes
 CENTER AND VANDERBILT                                   )
 UNIVERSITY,                                             )
                                                         )
                 Defendants.                             )


                MOTION IN LIMINE TO EXCLUDE AUDIO RECORDINGS

        Defendants Vanderbilt University Medical Center (“VUMC”) and Vanderbilt University

(“VU”) hereby move this Court for an Order precluding Plaintiff from submitting certain audio

recordings as evidence at the trial of this matter. This evidence includes hearsay, double-hearsay,

and is irrelevant to this facts at issue in this case.

                                   FACTUAL BACKGROUND

        In February of 2016, Plaintiff was dismissed from VUMC’s residency program due to a

continued pattern of concerns, including poor judgment, inadequate medical knowledge, poor

clinical skills, and unprofessional behavior. [Dkt. 72]. Plaintiff’s remaining claims in this action

assert that his dismissal violated the Americans with Disabilities Act, and certain state law claims,

including tortious interference with contract and defamation.

        In discovery and in Response to Defendants’ Motion for Summary Judgment, Plaintiff

produced three audio recordings – 1) an alleged audio recording of Plaintiff’s conversation with

New York Medical Center’s (NYMC) Residency Program Director, Dr. Thaddeus Wandel (the

“Wandel Recording”); 2) an alleged audio recording of Plaintiff’s conversation with NYMC’s



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Senior Associate Dean of Graduate Medical Education, Dr. Frederick Bierman (the “Bierman

Audio Recording”); and 3) a recording excerpt of an alleged conversation Plaintiff had with Dr.

Laura Wayman, VUMC’s Ophthalmology Residency Program Director (the “Wayman Audio

Recording”).    Plaintiff asserts that the Wandel Audio Recording is proof that Vanderbilt’s

communications with Dr. Wandel caused Plaintiff to lose a position with NYMC. [Dkt. 81].

Plaintiff claims the Wayman Recording proves that he made a request for a reasonable

accommodation to VUMC. [Id.] Plaintiff has not offered the Bierman Audio Recording for any

purpose, but did produce it in discovery.

        The audio recordings are not admissible evidence and this Court should not permit Plaintiff

to present them as exhibits in the trial of this matter.

                                       LEGAL ARGUMENT

        “Motions in limine are generally used to ensure evenhanded and expeditious management

of trials by eliminating evidence that is clearly inadmissible for any purpose.” Indiana Insurance

Co. v. General Electric Co., 326 F.Supp. 2d 844, 846 (N.D. Ohio 2004) (citing Jonasson v.

Lutheran Child and Family Serv., 115 F.3d 436, 440 (7th Cir. 1997)). Moreover, testimony that

is not based on personal knowledge and is grounded in hearsay, opinion, and speculation is

inadmissible under Fed. R. Evid. 602, 701, and 802. See, e.g., U.S. v. Meda, 812 F.3d 502, 516

(6th Cir. 2015) (affirming district court’s decision to exclude hearsay testimony). Thus, courts

will grant motions in limine to exclude hearsay and speculation evidence where it is clear that a

party intends to rely on such evidence at trial. See, e.g., Rachells v. Cingular Wireless Employee

Services, LLC, 2016 WL 3179750, at *3 (N.D. Oh. 2016) (granting defendant’s motion in limine

to exclude potential testimony as speculative and inadmissible hearsay); Stryker Corp. v.

Ridgeway, 2016 WL 6585007, at *3 (W.D. Mich. 2016) (granting motion in limine to the extent




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testimony “is based not on her personal knowledge, but instead on hearsay not falling within one

of the authorized exceptions, the testimony will be inadmissible at trial.”). The Court should

exclude the Wandel and Wayman audio recordings on the basis that they contain hearsay, double

hearsay, and are irrelevant to the facts at issue in this case.

        First, it is clear from listening to the entirety of the Wandel Audio Recording that Dr.

Wandel never spoke with anyone from VUMC. Moreover, Dr. Wandel’s references to the contents

of or impact of the alleged conversation between Dr. Brady and Dr. Bierman is purely speculative

as Dr. Wandel clearly states during the recording that Dr. Bierman “did not elaborate” on this

alleged conversation and states his belief that the Summative Evaluation and “I guess what his

conversation was with Brady” impacted Dr. Bierman’s decision. See Wandel Audio Recording at

1:24 and 30:50. (emphasis added). Thus, Dr. Wandel’s statements are not based on personal

knowledge and are clearly hearsay to the extent that he is discussing a purported conversation in

which he was not a participant and cannot confirm actually happened. See Sperle v. Michigan

Dep’t of Corr., 297 F.3d 483, 495 (6th Cir. 2002); Penny v. United Parcel Serv., 128 F.3d 408,

415 (6th Cir. 1997). With these facts, Plaintiff cannot establish any exception to render this hearsay

admissible. See Fed. R. Evid. 801, 803, 804.       Accordingly, Plaintiff cannot use such hearsay in

this litigation. This argument is made even stronger by the fact that Dr. Wandel will likely not be

testifying at trial [See Docket No. 163] and was never deposed in this matter. Notably, Plaintiff

had the opportunity to depose Dr. Bierman (or anyone else) to obtain admissible testimony or

evidence, but inexplicably chose not to do so. Plaintiff’s failure to depose Dr. Bierman should not

be rewarded by allowing an audio recording about an alleged conversation that Dr. Bierman had

to be admitted into evidence.




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        Similarly, the Bierman Audio Recording should be excluded on the same or similar

grounds. This recording does not fall within any recognized exception as it is simply a recording

of a conversation that Plaintiff asserts he had with Dr. Bierman. As Dr. Bierman is not a party or

representative of a party in this action, his out of court statements are clearly not admissible.

Additionally, the Bierman Audio Recording bears no relevancy to the issues in this matter,

particularly to the extent that it does not reference any communications that impact any of the

issues in this matter.

        Likewise, the Wayman Audio Recording should be excluded on the basis that it lacks

relevancy to this case, and would lead to confusion of the issues. The Wayman Audio Recording

is not a complete recording, and is largely difficult to decipher. Indeed, Plaintiff provided an

“unofficial transcript prepared by a legal assistant in the office of Plaintiff’s counsel” which is

riddled with “questions marks that denote uncertainty in the transcription.” [Exhibit R, Dkt. 80].

Federal Rule of Evidence 401 provides that relevant evidence is that which tends “to make the

existence of any fact that is of consequence to the determination of the action more probable or

less probable than it would be without the evidence.” Fed. R. Evid. 401. In tandem with Rule

401, Rule 402 mandates the preclusion of evidence which is not relevant. Fed. R. Evid. 402. The

trial court possesses broad discretion over the admission or exclusion of evidence. See Burks v.

O’Connor Kenny Partners, Inc., 77 Fed. Appx. 351, 356 (6th Cir. 2003).           Here, given even

Plaintiff’s difficulty in deciphering the content of the Wayman Recording, its contents cannot be

said to be relevant to the facts of the case.

        Additionally, Federal Rule of Evidence 403 provides that the Court has the power to

exclude evidence, even if relevant under Rule 401, “if its probative value is substantially

outweighed by the danger of unfair prejudice, confusion of the issues, misleading the jury or by




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considerations of undue delay, waste of time, or needless presentation of cumulative evidence.”

Fed. R. Evid. 403. The Wayman Recording – an indecipherable and incomplete alleged recording

of a conversation between Plaintiff and Dr. Wayman – should be excluded on the basis that any

limited probative value it has is substantially outweighed by the danger that it could confuse the

jury.

                                         CONCLUSION

        For the foregoing reasons, Defendants respectfully request that Plaintiff be precluded from

presenting the Bierman Audio Recording, Wandel Recording or the Wayman Recording at trial.



                                                 Respectfully submitted,


                                                 /s/ Luther Wright, Jr.
                                                 Luther Wright, Jr., TN #17626
                                                 Casey M. Parker, TN #033081
                                                 OGLETREE, DEAKINS, NASH, SMOAK &
                                                 STEWART, P.C.
                                                 SunTrust Plaza
                                                 401 Commerce Street, Suite 1200
                                                 Nashville, TN 37219-2446
                                                 Telephone: 615.254.1900
                                                 Facsimile: 615.254.1908

                                                 Attorneys for Defendants


                              CERTIFICATE OF SERVICE

                                         Edward R. Moor, Esq.
                                   Moor Law Office, P.C.
                             53 West Jackson Boulevard, Suite 1527
                                      Chicago, IL 60604
                                       erm@moorlaw.net

                                     Seamus T. Kelly, Esq.
                                     David J. Goldman, Esq.
                                     Music City Law, PLLC
                                209 10th Avenue South, Suite 560


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                             Nashville, TN 37203
                          seamus@musiccityfirm.com
                           david@musiccityfirm.com




                                    s/Luther Wright, Jr.
                                    Luther Wright, Jr.




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